Case 9:19-cv-81135-RKA Document 1 Entered on FLSD Docket 08/09/2019 Page 1 of 4



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NUMBER: ____________________

 JOSEPH LOPRESTI,

                Plaintiff,

 vs.

 THE CLUB AT ADMIRAL’S COVE, INC.,

             Defendant.
 ______________________________________/

                                            COMPLAINT

        COMES NOW, Plaintiff, JOSEPH LOPRESTI, by and through her undersigned counsel,

 and sues the Defendant, THE CLUB AT ADMIRAL’S COVE, INC., and alleges as follows:


                                         INTRODUCTION

        1.      This is a proceeding for damages to redress the deprivation of rights secured to

 the Plaintiff by the Family and Medical Leave Act, 29 U.S.C. 2601-2654 (“FMLA”).

                                  JURISDICTION AND VENUE

        2.      The Court has jurisdiction over their controversy based upon the FMLA, and

 venue is proper as all acts described herein occurred within this judicial district.

                                              PARTIES

        3.      At all times material hereto, the Plaintiff was/is a citizen of the United States, sui

 juris, and an employee of the Defendant.

        4.      At all times material hereto, the Plaintiff was an employee and member of a

 protected class within the meaning of the FMLA.




                                                   1
Case 9:19-cv-81135-RKA Document 1 Entered on FLSD Docket 08/09/2019 Page 2 of 4



         5.        At all times material hereto, Defendant was a Florida Corporation doing business

 and services in this judicial district, was the employer or former employer of the Plaintiff, and is

 an employer as defined by the FMLA.

                        EXHAUSTION OF ADMINISTRATIVE REMEDIES

         6.        The Plaintiff has exhausted and fulfilled all conditions precedent to the institution

 of this action.

                                       STATEMENT OF FACTS

         7.        The Plaintiff was an employee for the Defendant since October 2002, as a Pastry

 Chef and had been an outstanding employee with no disciplinary issues.

         8.        In the end of 2018, Plaintiff suffered a leg/foot injury, but held off on surgery

 given it was the Defendant’s season.

         9.        Ultimately, Plaintiff took 4 weeks off for the procedure and recovery, yet was

 never provided any FMLA documentation or benefits.

         10.       While his doctor wanted to give him additional time, Plaintiff had exhausted his

 paid time off and believed he needed to return.

         11.       In June of 2019, Plaintiff returned to work from this leave of absence, yet after

 two days, Plaintiff was informed that due to the remodeling (that was originally to begin in

 November of 2018, and then February of 2019, before again being extended) he was terminated

 from his employment.

                                                 COUNT I

                                       FMLA INTERFERENCE

         12.       The Plaintiff incorporates by reference paragraphs 1-11 herein.

         13.       At all times material to this lawsuit, the Plaintiff was entitled to leave under the




                                                      2
Case 9:19-cv-81135-RKA Document 1 Entered on FLSD Docket 08/09/2019 Page 3 of 4



 FMLA, and to be reinstated to his position upon returning from leave.

        14.     The Defendant unlawfully interfered with the Plaintiff’s exercise of his FMLA

 rights by failing to provide FMLA benefits or reinstate his position, or equivalent thereto, upon

 his return from FMLA leave.

        15.     As a direct and proximate result of the Defendant’s unlawful treatment, the

 Plaintiff has suffered damages and will continue to suffer irreparable injury and damages in the

 future, under the FMLA.

        16.     The Plaintiff is entitled to an award of reasonable attorney's fees, expert fees,

 costs and expenses related to this litigation under the FMLA.

        WHEREFORE, the Plaintiff, JOSEPH LOPRESTI, requests that judgment be entered

 against the Defendant, THE CLUB AT ADMIRAL’S COVE, INC., for all damages recoverable

 under the FMLA, in addition to all litigation expenses and costs, including attorneys’ fees and

 any other lawful and equitable relief this Court deems to be just and proper.

                                             COUNT II

                                      FMLA RETALIATION

        17.     The Plaintiff incorporates by reference paragraphs 1-11 herein.

        18.     At all times material to this lawsuit, the Plaintiff was entitled to leave under the

 FMLA.

        19.     As a result of this exercise of the FMLA, the Defendant intentionally, willfully

 and unlawfully retaliated against the Plaintiff, in violation of the FMLA.

        20.     That the Defendant’s decision to adversely affect the Plaintiff was both connected

 to, and in response to the Plaintiff’s FMLA coverage.




                                                   3
Case 9:19-cv-81135-RKA Document 1 Entered on FLSD Docket 08/09/2019 Page 4 of 4



        21.     As a direct and proximate result of the Defendant’s unlawful treatment, the

 Plaintiff has suffered damages and will continue to suffer irreparable injury and damages in the

 future, under the FMLA.

        22.     The Plaintiff is entitled to an award of reasonable attorney's fees, expert fees,

 costs and expenses related to this litigation under the FMLA.

        WHEREFORE, the Plaintiff, JOSEPH LOPRESTI, requests that judgment be entered

 against the Defendant, THE CLUB AT ADMIRAL’S COVE, INC., for all damages recoverable

 under the FMLA, in addition to all litigation expenses and costs, including attorneys’ fees and

 any other lawful and equitable relief this Court deems to be just and proper.

                                   DEMAND FOR JURY TRIAL
    The Plaintiff demands a jury trial.
        Dated: August 9, 2019.                Respectfully submitted,

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